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             EXHIBIT 7
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 ∑1∑∑∑∑∑∑∑∑UNITED STATES DISTRICT COURT

 ∑2∑∑∑∑∑∑∑SOUTHERN DISTRICT OF NEW YORK

 ∑3

 ∑4∑∑SIMO HOLDINGS, INC.,

 ∑5∑∑∑∑∑∑∑Plaintiff,

 ∑6∑∑vs.∑∑∑∑∑∑∑∑∑∑∑Case No.∑18-cv-5427 (JSR)

 ∑7∑∑HONG KONG UCLOUDLINK NETWORK

 ∑8∑∑TECHNOLOGY LIMITED, AND

 ∑9∑∑UCLOUDLINK (AMERICA), LTD.,

 10
 ∑∑∑∑∑∑∑∑Defendants.
 11∑∑---------------------------------/

 12

 13

 14

 15∑∑

 16∑∑∑VIDEOTAPED DEPOSITION OF CHRISTOPHER MARTINEZ

 17∑∑∑∑∑∑∑∑Tuesday, February 5, 2019

 18

 19

 20
 ∑∑∑Reported by:
 21∑∑LORRIE L. MARCHANT, RMR, CRR, CCRR, CRC
 ∑∑∑California CSR No. 10523
 22

 23∑∑Job No. WDC-205960

 24

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 ∑1∑∑∑∑∑∑BY MR. BUSBY:
 ∑2∑∑∑∑Q.∑∑Okay.∑Thanks.
 ∑3∑∑∑∑∑∑Turn to paragraph 95 of your report,
 ∑4∑∑please.
 ∑5∑∑∑∑A.∑∑Yes.
 ∑6∑∑∑∑Q.∑∑The last sentence says:
 ∑7∑∑∑∑∑∑∑∑"Consequently, I would not expect
 ∑8∑∑∑∑∑∑Skyroam to accept a reasonable royalty of
 ∑9∑∑∑∑∑∑less than the wholesale profits per day
 10∑∑∑∑∑∑pass and the company would expect to
 11∑∑∑∑∑∑forego by licensing vSIM technology to
12∑∑∑∑∑∑uCloudlink."
13∑∑∑∑∑∑What does the sentence mean?
14∑∑∑∑A.∑∑That I believe that Skyroam, the plaintiff,
15∑∑would require at least the wholesale profit level
16∑∑per day pass as a reasonable royalty.
17∑∑∑∑Q.∑∑So are the wholesale profits the
18∑∑∑∑A.∑∑Yes.       is the -- is the wholesale profits
19∑∑earned on a day pass, a 500-megabyte day pass.
20∑∑∑∑Q.∑∑So can you go to Tab 9, please.
21∑∑Schedule 9, Tab 9.∑Skyroam average incremental
22∑∑profit per day pass.
23∑∑∑∑A.∑∑Yes.
24∑∑∑∑Q.∑∑Okay.∑So can you give a layperson, me, a
25∑∑quick review of what -- what's going on here.


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 ∑1∑∑∑∑A.∑∑Yeah.∑So basically Schedule 9 to Exhibit 2
 ∑2∑∑to this deposition is a summary of how I get to the
 ∑3∑    profit, and it starts with the   price of the
 ∑4∑∑day -- of the wholesale price of the day pass minus
 ∑5∑∑approximately      of costs, to get to the    profit.
 ∑6∑∑∑∑Q.∑∑So the         is rounded up to
 ∑7∑∑∑∑A.∑∑Right.∑That's right.
 ∑8∑∑∑∑Q.∑∑Okay.∑You listed weighted average variable
 ∑9∑∑cost per day pass, and there's three things -- three
 10∑∑things there.
 11∑∑∑∑∑∑Can you tell me what those are?
 12∑∑∑∑A.∑∑I mean, they're -- they're reference -- the
 13∑∑vSIM cost, the rSIM cost, and the IMSI cost.∑And
14∑∑then there are reference to other schedules.
15∑∑∑∑Q.∑∑Yeah.∑Thanks.
16∑∑∑∑∑∑What's the rSIM cost?∑What is rSIM cost?
 17∑∑∑∑A.∑∑So since we looked -- it's probably easier
18∑∑to look at the schedules that are referenced. I
19∑∑think that's where the explanation would be.
20∑∑∑∑Q.∑∑I think that's 11.
21∑∑∑∑A.∑∑11.∑Yeah.∑And you want to know what,
22∑∑like, the dollar value of those costs are or the --
23∑∑∑∑Q.∑∑No.∑Just what is rSIM?∑Sorry.
24∑∑∑∑A.∑∑Oh, it's just a -- it's another component
25∑∑cost that's required to provide the service.


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 ∑1∑∑∑∑Q.∑∑And I think I know, but what's vSIM cost?
 ∑2∑∑What's is a vSIM?
 ∑3∑∑∑∑A.∑∑That's the virtual SIM cost.∑That's --
 ∑4∑∑that's basically the bulk of the data.
 ∑5∑∑∑∑Q.∑∑What's IMSI cost?∑What is IMSI?
 ∑6∑∑∑∑A.∑∑Again, I don't recall what IMSI stands for,
 ∑7∑∑but it's another component cost that's incurred by
 ∑8∑∑Skyroam or uCloudlink to provide the service.
 ∑9∑∑∑∑Q.∑∑What other -- did you consider any other
 10∑∑costs when you -- you came up with the
 11∑∑royalty?
 12∑∑∑∑A.∑∑No.∑I considered the cost -- basically,
 13∑∑the cost of goods sold.∑The direct costs.
 14∑∑∑∑Q.∑∑No operational costs?
 15∑∑∑∑A.∑∑No.∑I concluded only the cost of goods
 16∑∑sold.
 17∑∑∑∑Q.∑∑Why didn't you consider operational costs?
 18∑∑∑∑A.∑∑Because I didn't consider them to be
 19∑∑incremental to the sale of the day -- the wholesale
 20∑∑day passes.
 21∑∑∑∑Q.∑∑What do you mean by that?
 22∑∑∑∑A.∑∑I didn't consider the cost to be
 23∑∑incremental.∑If you're already selling -- if you've
 24∑∑already sold a piece of hardware, a hotspot, and you
 25∑∑maybe have already sold a day pass or two, there


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 ∑1∑∑∑∑Q.∑∑Okay.∑Does paragraph 95 assume that every
 ∑2∑∑uCloudlink sale is a lost sale for Skyroam?
 ∑3∑∑∑∑A.∑∑It doesn't necessarily assume that, but I
 ∑4∑∑do talk about the zero-sum game analysis and the
 ∑5∑∑nature of the market, so -- but, no, the royalty
 ∑6∑∑is -- is fee that uCloudlink, the defendant, would
 ∑7∑∑pay to use the protected technology.
 ∑8∑∑∑∑Q.∑∑Okay.∑So, I apologize.∑I'm not sure if I
 ∑9∑∑understood your answer.
 10∑∑∑∑∑∑Yes or no -- I think you might have
 11∑∑answered.∑I'm sorry.∑Does this paragraph assume
 12∑∑that -- is there an assumption that every uCloudlink
 13∑∑sale is a lost sale for Skyroam?
 14∑∑∑∑∑∑MR. SOSKIN:∑Objection.
15∑∑∑∑∑∑THE WITNESS:∑Well, this paragraph doesn't
16∑∑assume it.∑What I'm saying is that -- here, I'm
17∑∑saying that uCloud -- or SIMO or Skyroam would
18∑∑expect a royalty of no less than its wholesale
19∑∑profit level.∑That's what -- that's what I'm saying
20∑∑here.
21∑∑∑∑∑∑BY MR. BUSBY:
22∑∑∑∑Q.∑∑If you look at -- well, do you say anywhere
23∑∑else in your opinion -- I know you talked about
24∑∑zero-sum game.
25∑∑∑∑∑∑Is the zero-sum game what I described as a


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 ∑1∑∑∑∑Q.∑∑Is the business model for uCloudlink or
 ∑2∑∑Skyroam enabled by any other technology?
 ∑3∑∑∑∑∑∑MR. SOSKIN:∑Objection.
 ∑4∑∑∑∑∑∑THE WITNESS:∑Well, there's technology in
 ∑5∑∑the hotspots that relates to Wi-Fi, so there's going
 ∑6∑∑to be some standard essential patents and other
 ∑7∑∑patents that go into the hotspots.∑But that's
 ∑8∑∑really not the business model of these parties.
 ∑9∑∑They don't make their money on their hotspot
 10∑∑devices.
 11∑∑∑∑∑∑They make their money and their business
 12∑∑models are centered around selling data usage via
 13∑∑these day passes.∑But they require some sort of a
 14∑∑hardware device.
 15∑∑∑∑∑∑BY MR. BUSBY:
 16∑∑∑∑Q.∑∑Does the hardware include
 17∑
 18∑∑∑∑∑∑MR. SOSKIN:∑Objection.
 19∑∑∑∑∑∑THE WITNESS:∑Yes, I believe the
 20∑∑uCloudlink -- yes.∑Short answer.
 21∑∑∑∑∑∑BY MR. BUSBY:
 22∑∑∑∑Q.∑∑How about the Skyroam products?
 23∑∑∑∑A.∑∑I know they have                    .∑I don't
 24∑∑know what all the -- I don't know what's in them. I
 25∑∑know that, for instance, Skyroam


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 ∑1∑                                            , but I
 ∑2∑∑don't know the composition of those devices.
 ∑3∑∑∑∑Q.∑∑Did you take into account any patented
 ∑4∑∑technology by              with respect to your opinions
 ∑5∑∑formed in your report?
 ∑6∑∑∑∑∑∑MR. SOSKIN:∑Objection.
 ∑7∑∑∑∑∑∑THE WITNESS:∑It's my opinion that the
 ∑8∑∑hardware devices aren't a portion of the base in a
 ∑9∑∑reasonable royalty analysis, so I have not included
 10∑∑those.∑Therefore, it would be inappropriate to
 11∑∑include other technologies that relate to the
 12∑∑hardware devices.∑The royalty base does not -- does
 13∑∑not include the hardware devices.
 14∑∑∑∑∑∑BY MR. BUSBY:
 15∑∑∑∑Q.∑∑Are there any other technologies that you
16∑∑took into account with respect to your royalty base?
17∑∑∑∑A.∑∑Well --
18∑∑∑∑∑∑MR. SOSKIN:∑Objection.
19∑∑∑∑∑∑THE WITNESS:∑-- I have an understanding
20∑∑that, for instance, there's a technology in the SIM
 21∑∑cards.∑But that technology is accounted for in the
 22∑∑value chain when the SIM cards are purchased from
 23∑∑the mobile network operators.∑So I understand it's
 24∑∑there.∑And that becomes a cost in the value chain
 25∑∑to the wholesaler, like uCloudlink or Skyroam.


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 ∑1∑∑∑∑∑∑THE WITNESS:∑I would imagine -- again, in
 ∑2∑∑the hotspot device, there's probably memory
 ∑3∑∑involved.
 ∑4∑∑∑∑∑∑BY MR. BUSBY:
 ∑5∑∑∑∑Q.∑∑How about antennas?
 ∑6∑∑∑∑∑∑MR. SOSKIN:∑Objection.
 ∑7∑∑∑∑∑∑THE WITNESS:∑Yes.∑Likely in a hotspot
 ∑8∑∑device, most of them that I've seen require
 ∑9∑∑antennas.
 10∑∑∑∑∑∑BY MR. BUSBY:
 11∑∑∑∑Q.∑∑And a Wi-Fi device is a wireless device;
 12∑∑correct?
13∑∑∑∑∑∑MR. SOSKIN:∑Objection.
14∑∑∑∑∑∑THE WITNESS:∑Yeah.∑Wi-Fi is a wireless
15∑∑device typically or facilitates wireless
16∑∑communication.
17∑∑∑∑∑∑BY MR. BUSBY:
18∑∑∑∑Q.∑∑So wouldn't be common sense that the
 19∑∑antenna technology would be very important for a
 20∑∑hotspot device, as you call them?
 21∑∑∑∑A.∑∑Well, there's a lot --
 22∑∑∑∑∑∑MR. SOSKIN:∑Objection.
 23∑∑∑∑∑∑THE WITNESS:∑Again, I don't doubt that all
 24∑∑of the technology that's contained in the device is
25∑∑important.∑I want to make it clear that I'm not


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 ∑1∑∑including the hardware device in my royalty base, so
 ∑2∑∑there's no need for apportionment.
 ∑3∑∑∑∑∑∑BY MR. BUSBY:
 ∑4∑∑∑∑Q.∑∑Okay.∑Can you please turn to paragraph 73.
 ∑5∑∑∑∑A.∑∑Sure.
 ∑6∑∑∑∑Q.∑∑So in paragraph 73, you said:
 ∑7∑∑∑∑∑∑∑∑"As part of the hypothetical
 ∑8∑∑∑∑∑∑negotiation, it's also important to
 ∑9∑∑∑∑∑∑consider any necessary apportionment
 10∑∑∑∑∑∑which relates to the essential
 11∑∑∑∑∑∑requirement that the 'ultimate reasonable
12∑∑∑∑∑∑royalty award must be based on the
13∑∑∑∑∑∑incremental value that the patented
14∑∑∑∑∑∑invention adds to the end product.'∑And
15∑∑∑∑∑∑'where multicomponent products are
16∑∑∑∑∑∑involved, the governing rule is that the
17∑∑∑∑∑∑ultimate combination of royalty base and
18∑∑∑∑∑∑royalty rate must reflect the value
19∑∑∑∑∑∑attributable to the infringing features
20∑∑∑∑∑∑of the product.'"
21∑∑∑∑A.∑∑Yes.∑I see that.
22∑∑∑∑Q.∑∑Did you -- I think you just testified, you
23∑∑didn't apply apportionment in this case?
24∑∑∑∑A.∑∑Well, I -- I isolated the value add related
25∑∑to the '689 patent as it pertains to the business


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 ∑1∑∑model for the two parties, and I was able to isolate
 ∑2∑∑the profit earned on the wholesale sale of day
 ∑3∑∑passes.
 ∑4∑∑∑∑∑∑So I did not include -- so my royalty base
 ∑5∑∑are day passes.∑There is no hardware component to
 ∑6∑∑those day passes with the exception of the actual
 ∑7∑∑SIM cards that are purchased from the mobile network
 ∑8∑∑operators.∑So there's no need to apportion the
 ∑9∑∑hotspot hardware because the hotspot hardware is not
 10∑∑part of my royalty base.
 11∑∑∑∑Q.∑∑What is the infringing -- what is the
 12∑∑accused product?∑Is the accused property a GlocalMe
 13∑∑device, or is it day pass card?
 14∑∑∑∑∑∑MR. SOSKIN:∑Objection.
 15∑∑∑∑∑∑THE WITNESS:∑Well, again, I'm not here to
16∑∑offer an opinion on what infringement is or isn't.
17∑∑∑∑∑∑BY MR. BUSBY:
18∑∑∑∑Q.∑∑I'm asking -- I'm sorry.∑Go ahead.
19∑∑∑∑A.∑∑But, broadly speaking, you -- it's -- it is
20∑∑necessary to have a hotspot device to use the day
21∑∑pass.∑I'm simply saying that the hypothetical
22∑∑license based on the business models is that the
23∑∑revenue is earned and the business models revolve
24∑∑around selling the day passes.
25∑∑∑∑∑∑It's the same model as buying a printer,


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 ∑1∑                                         people chose
 ∑2∑∑the ones that they applied, and the lowest one is
 ∑3∑∑innovative virtual SIM at    percent; isn't that
 ∑4∑∑true?
 ∑5∑∑∑∑A.∑∑I mean, yeah, I -- again, I don't know
 ∑6∑∑anything about this document, but -- there's a
 ∑7∑∑sample size of               or respondents, and these
 ∑8∑∑seem to be the                      ∑And I don't
 ∑9∑∑know if there were more choices.∑I just have no
 10∑∑idea.∑I don't know anything about this survey.
 11∑∑∑∑Q.∑∑Okay.∑But if you had reviewed this
 12∑∑document, wouldn't that be important for you to know
 13∑∑that a survey showed that innovative virtual SIM is
 14∑∑the                  attribute these customers liked?
 15∑∑Isn't that information that you would want to know?
 16∑∑∑∑∑∑MR. SOSKIN:∑Objection.
 17∑∑∑∑∑∑THE WITNESS:∑Well, it's interesting,
18∑∑again, based on what I understand about this
19∑∑technology.∑This virtual SIM facilitates some of
20∑∑these other things.
21∑∑∑∑∑∑So, for instance, if I said, you know, "Do
22∑∑you like that whiz-bang processor in your iPhone,"
23∑∑you might not rank that very high because you don't
24∑∑understand that that facilities the use of FaceTime
25∑∑or the use of some other app that you love.


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 ∑1∑∑∑∑∑∑It's the technology underneath the app, and
 ∑2∑∑I don't know how many people, from a consumer
 ∑3∑∑perspective, appreciate the technology.∑They really
 ∑4∑∑appreciate the feature.∑The vSIM -- virtual --
 ∑5∑∑innovative virtual SIM is not a feature.∑It's an
 ∑6∑∑element of the product.
 ∑7∑∑∑∑∑∑BY MR. BUSBY:
 ∑8∑∑∑∑Q.∑∑It's a patented technology, according to
 ∑9∑∑your report, isn't it?
 10∑∑∑∑A.∑∑Yeah.∑It's an element of the product.
 11∑∑It's not a feature, per se.
 12∑∑∑∑Q.∑∑So these consumers were asked "What are the
 13∑∑most important reasons you purchased the Skyroam
 14∑∑hotspot?"∑Doesn't this indicate to you, as a
 15∑∑damages expert, that the                    for these
16∑∑consumers was the patented virtual SIM technology?
17∑∑∑∑∑∑MR. SOSKIN:∑Objection.
18∑∑∑∑∑∑BY MR. BUSBY:
19∑∑∑∑Q.∑∑That's what it says on paper.∑Isn't that
20∑∑what it says?
21∑∑∑∑A.∑∑Again, I have no dispute with you,
22∑∑literally.∑I would say that some of the virtual SIM
23∑∑technology facilitates these other features.∑So
24∑∑it's sort of like, you know -- they're not
25∑∑necessarily apples to apples.


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 ∑1∑∑∑∑A.∑∑So I would simply use Skyroam's statistics
 ∑2∑∑presented in this Exhibit 15 and assume that
 ∑3∑∑uCloudlink would have the similar experience in
 ∑4∑∑terms of selling its day passes to its customers.
 ∑5∑∑∑∑∑∑So you could simply multiply maybe one of
 ∑6∑∑these numbers,       or     times the           hotspots
 ∑7∑∑sold by uCloudlink to get an estimation of accused
 ∑8∑∑day passes sold related to hotspots sold in the
 ∑9∑∑United States.
 10∑∑∑∑Q.∑∑Okay.∑And looking at page 1 of 3 of your
 11∑∑report or -- I guess it's Schedule 3, is this
 12∑∑document in Schedule 3 of your report?∑And we're
 13∑∑looking at -- I believe this is Exhibit 2.
 14∑∑∑∑A.∑∑Yes.∑It's -- yeah.∑This document is in a
 15∑∑Bates range that's included in my Schedule 3 to
16∑∑Exhibit 2.
17∑∑∑∑Q.∑∑Okay.∑And when formulating your opinions
18∑∑in this case, did you consider this document?
19∑∑∑∑A.∑∑I did, yes.
20∑∑∑∑Q.∑∑So if you were to include the hotspots
21∑∑themselves into your damages calculation, would you
22∑∑have a separate royalty rate for the hardware, or
23∑∑would you include it as part of the -- as part of
24∑∑one royalty with the -- with the data?
25∑∑∑∑A.∑∑You could -- I guess you could conceivably


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 ∑1∑∑do it either way.∑You could take the life value of
 ∑2∑∑the hotspot and day passes and then do an
 ∑3∑∑apportionment and then calculate a royalty for that.
 ∑4∑∑∑∑∑∑The problem there is that the royalty would
 ∑5∑∑likely be so large, because if you have, on average,
 ∑6∑    day passes sold on top of the value of the
 ∑7∑∑hardware, you're -- it's probably not tenable to the
 ∑8∑∑licensee, the defendant in this case.
 ∑9∑∑∑∑Q.∑∑So how would it affect the hypothetical
 10∑∑negotiation if you did that?
 11∑∑∑∑A.∑∑Well, you would make the licensee actually
 12∑∑worse off, because you would basically force the
 13∑∑licensee to pay a very high royalty rate based on
 14∑∑the value of the -- a bigger royalty rate based on
 15∑∑the value from both the device and all of the
 16∑∑expected day passes.
 17∑∑∑∑∑∑And they'd have to pay that when they sold
 18∑∑the device.∑So there would be a shift of payment
 19∑∑that would be upfront that the licensee, the
 20∑∑defendant, would be responsible for, which I'm sure
21∑∑they wouldn't be happy about.
 22∑∑∑∑Q.∑∑If you were to omit the data use from your
 23∑∑royalty calculation, would the -- would such a
 24∑∑royalty adequately compensate SIMO for the
 25∑∑infringement of its patent?


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 ∑1∑∑∑∑A.∑∑You mean include just a royalty on the
 ∑2∑∑hardware sold by uCloudlink?∑Just to be clear.
 ∑3∑∑∑∑Q.∑∑Just the royalty on the hardware sold by
 ∑4∑∑uCloudlink and not the -- not the data.
 ∑5∑∑∑∑A.∑∑Well, then, again, your royalty would have
 ∑6∑∑to consider the benefit of the technology, which
 ∑7∑∑would include the profits earned on the day passes.
 ∑8∑∑And that royalty would probably be a very large
 ∑9∑∑percentage or a big percentage of the hardware cost
 10∑∑which, again, would probably be untenable to the
 11∑∑licensee.
 12∑∑∑∑Q.∑∑So if you omitted -- similar to the
 13∑∑decision to exclude the hardware from your current
 14∑∑calculation, if you were to exclude the data sales
 15∑∑and just discuss the hardware sales, would SIMO be
 16∑∑made whole for the losses stemming from the
 17∑∑infringement if you just -- just analyzed the
 18∑∑sales -- royalty based on the sales of the hardware?
 19∑∑∑∑A.∑∑Well, if you didn't include the profit on
 20∑∑the day passes, then, no, because you would have to
 21∑∑apportion down the value of the other technology in
 22∑∑the device, and -- and SIMO would not recover the
 23∑∑benefit derived by the defendant from selling day
 24∑∑passes subsequent to the sale of the hardware.
 25∑∑∑∑∑∑MR. SOSKIN:∑I think that's all I got.


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 ∑1∑∑∑∑∑∑∑∑∑∑REPORTER CERTIFICATE

∑2∑∑∑∑∑∑∑I, LORRIE L. MARCHANT, Certified Shorthand

 ∑3∑∑Reporter, Certificate No. 10523, for the State of

 ∑4∑∑California, hereby certify that CHRISTOPHER MARTINEZ

 ∑5∑∑was by me duly sworn/affirmed to testify to the

 ∑6∑∑truth, the whole truth and nothing but the truth in

 ∑7∑∑the within-entitled cause; that said deposition was

 ∑8∑∑taken at the time and place herein named; that the

 ∑9∑∑deposition is a true record of the witness's

 10∑∑testimony as reported to the best of my ability by

 11∑∑me, a duly certified shorthand reporter and a

 12∑∑disinterested person, and was thereafter transcribed

 13∑∑under my direction into typewriting by computer;

 14∑∑that request [∑] was [ X ] was not made to read and

 15∑∑correct said deposition.

 16∑∑∑∑∑∑∑I further certify that I am not interested

 17∑∑in the outcome of said action, nor connected with,

 18∑∑nor related to any of the parties in said action,

 19∑∑nor to their respective counsel.

 20∑∑∑∑∑∑∑IN WITNESS WHEREOF, I have hereunto set my

 21∑∑hand this 6th day of February, 2019.

 22

 23∑∑∑∑______________________________________________
 ∑∑∑∑∑∑∑∑LORRIE L. MARCHANT, RMR, CRR, CCRR, CRC
 24∑∑∑∑∑∑∑Certified Shorthand Reporter #10523

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